     Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 1 of 8 PageID #:645




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

  YUZHAO JIN,

                          Plaintiff,

                    v.
                                                         Civil Action No. 1:24-cv-05247
  THE PARTNERSHIPS and
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A”

                          Defendants.


                           PRELIMINARY INJUNCTION ORDER

       Before the Court is Plaintiff Yuzhao Jin’s (“Plaintiff”) Motion for Preliminary Injunction

enjoining Defendants Meidaolai and Joie Store from making, importing, distributing, offering for

sale, and/or selling unauthorized and unlicensed products, namely the folding bathtubs, that infringe

United States Patent No. 11,937,745 (“Asserted Patent”), and for expedited discovery and an asset

restraint (“Motion”). The Court, having considered the Motion, and any responses and replies thereto,

finds that the Motion should be GRANTED. The Court therefore orders as follows:

       This Court finds Plaintiff has provided notice to Defendants in accordance with the Temporary

Restraining Order entered June 3, 2024, Dkt. No. 13 (“TRO”), and Federal Rule of Civil Procedure

65(a)(1).

       This Court also finds, in the absence of adversarial presentation, that it has personal jurisdiction

over Defendants because Defendants directly target their business activities toward consumers in the

United States, including Illinois. Specifically, Plaintiff has provided a basis to conclude that

Defendants have targeted sales to Illinois residents by setting up and operating e-commerce stores that

target United States consumers using one or more seller aliases, offer shipping to the United States,
                                               1
      Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 2 of 8 PageID #:646



including Illinois, and have sold products that infringe Plaintiff’s patented design to residents of

Illinois. In this case, Plaintiff has presented screenshot evidence that each Defendant e-commerce store

is reaching out to do business with Illinois residents by operating one or more commercial, interactive

internet stores through which Illinois residents can and do purchase products infringing the Asserted

Patent. See Dkt. No. 2-2, which includes screenshot evidence confirming that each Defendant e-

commerce store does stand ready, willing and able to ship its infringing goods to customers in Illinois.

       This Court also finds that the injunctive relief previously granted in the TRO should remain in

place through the pendency of this litigation and that issuing this Preliminary Injunction is warranted

under Federal Rule of Civil Procedure 65. Evidence submitted in support of this Motion and in support

of Plaintiff’s previously granted Motion for Entryof a TRO establishes that Plaintiff has demonstrated

a likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

       Specifically, Plaintiff has proved a prima facie case of patent infringement because (1) the

Asserted Patent is likely to withstand any invalidity challenges, (2) Defendants are not licensed or

authorized to use the patented design, and (3) the Infringing Products comprise each and every element

of at least Claim 1 of the Asserted Patent. Furthermore, Defendants’ continued, unauthorized, and

unlawful use of the Asserted Patent irreparably harms Plaintiff through diminished goodwill and brand

confidence, damage to Plaintiff’s reputation, loss of exclusivity of intellectual property rights, and loss

of future sales. Monetary damages fail to address such damage and, therefore, Plaintiff has an

inadequate remedy at law. Moreover, the public interest is served by entry of this Preliminary

Injunction to dispel the public confusion created by Defendants’ actions and to uphold Patent rights.

Accordingly, this Court orders that:

       1. Defendants and their officers, affiliates, agents, and employees are hereby enjoined, during

           the pendency of this action, from:
                                                     2
Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 3 of 8 PageID #:647



        a. manufacturing, importing, distributing, offering for sale, or selling any Infringing

           Products, e.g., the folding bathtubs as identified in Exhibit B to the Sealed

           Complaint (Dkt. No. 2-2) and any colorable variations thereof (“Infringing

           Products”); including the products identified by ASIN Nos.: B0CZNRF3HW,

           B0CZ12N2CP, B0CF1NVPQP, B0CKQQ174C, B0CF1NC848, B0CZ14C1JQ,

           B0CZ12TC9Z; and any other listings that may arise;

        b. further infringing the Asserted Patent and damaging Plaintiff’s patent rights in any

           way;

        c. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, the Infringing

           Products;

        d. using, linking to, transferring, selling, exercising control over, or otherwise owning

           the Online Marketplace Accounts or any other online marketplace account that is

           being used to sell or is the means by which Defendants could continue to sell the

           Infringing Products; and

        e. operating and/or hosting any website or marketplace account for or on behalf of

           Defendants that are involved with the distribution, marketing, advertising, offering

           for sale, or sale of the Infringing Products.

 2. Defendants and their officers, affiliates, agents, and employees and any third parties

    receiving actual notice of this order—including Amazon.com and any payment service

    providers, including any credit card companies, banks, or payment processors such as

    PayPal—shall, within five (5) business days of receipt of such notice, provide to Plaintiff

    expedited discovery, including copies of all documents and things currently in their

    possession, custody, or control related to:
                                           3
Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 4 of 8 PageID #:648



        a. the identities of and all contact information, including any email addresses, related

           to Defendants, and any entities having any ownership or control over the

           Amazon.com marketplace stores operated by Defendants as identified in the chart

           below, and any other Amazon.com accounts under the operation or control of the

           individuals operating the foregoing marketplace accounts;

            Meidaolai                     A1XJMOFGQXZNQJ
            Joie Store                    A1QH4K99W04MKK

        b. any Amazon.com marketplace accounts owned, operated, or controlled by

           Defendants and their officers, affiliates, agents, and/or employees;

        c. the nature of the Defendants’ operations and all associated sales and financial

           information, including, without limitation, identifying information associated with

           the Defendants’ financial accounts, including the Defendants’ sales and listing

           history related to their respective online marketplace accounts identified in the table

           below or in response to 2.a above; and

        d. any and all financial accounts owned, operated, or controlled by the Defendants

           and/or their officers, affiliates, agents, and/or employees used in conjunction with

           the sale and/or offering for sale in conjunction with the Infringing Products.

 3. Defendants, Amazon.com, and any third parties with actual notice shall, within five (5)

    business days after receipt of such notice disable any and all accounts and or services used

    by Defendants to market, advertise, sell and/or offer for sale any goods in conjunction with

    the Infringing Products.

 4. Amazon.com and any other online marketplace used by Defendants to sell or offer to sell

    the Infringing Products shall within five (5) business days of receipt of this Order, disable




                                           4
Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 5 of 8 PageID #:649



    and cease displaying any advertisements used by or associated with Defendants in

    connection with the sale of the Infringing Products or colorable variations thereof.

 5. Amazon.com and any other online marketplace used by Defendants to sell or offer to sell

    the Infringing Products shall, within three (3) business days of receipt of this Order, make

    the Amazon Defendants’ Amazon Seller ID(s), or any other online store owned, operated,

    or controlled by Defendants untransferable until further ordered by this Court.

 6. Amazon Payments, Inc. (“Amazon”) and its related companies and affiliates shall, within

    two (2) business days of receipt of this Order, identify and restrain all funds, as opposed to

    ongoing account activity, in or which hereafter are transmitted into the Amazon accounts

    related to the Defendants, as well as all funds in or which are transmitted into (i) any other

    accounts of the same customer(s), (ii) any other accounts which transfer funds into the

    same financial institution account(s), and/or any of the other Amazon accounts subject to

    this Order; and (iii) any other Amazon accounts tied to or used by any of the Defendants;

    Amazon shall further, provide Plaintiff’s counsel with all data which (i) identifies the

    financial account(s) which the restrained funds are related to, and (ii) details the account

    transactions related to all funds transmitted into the financial account(s) which have been

    restrained. Such restraining of the funds and the disclosure of the related financial

    institution account information shall be made without notice to the account owners until

    after those accounts are restrained. No funds restrained by this Order shall be transferred

    or surrendered by Amazon for any purpose (other than pursuant to a chargeback made

    pursuant to Amazon’s security interest in the funds) without the express authorization of

    this Court.

 7. Any banks, savings and loan associations, payment processors, or other financial

    institutions, for the Defendants, shall within two (2) business days of receipt of this Order:
                                            5
Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 6 of 8 PageID #:650



        a. locate all accounts and funds connected to the Defendants; and

        b. restrain and enjoin such accounts from receiving, transferring, or disposing

            of any money or other of the Defendants' assets until further ordered by this

            Court.

 8. The Eleven Thousand Dollars ($11,000.00) bond shall remain with the Court until a final

    disposition of this case or until this Preliminary Injunction is terminated.

 9. Plaintiff may provide notice of these proceedings and service of the complaint, this Order

    and other relevant documents and by sending an e-mail to the e-mail addresses identified

    and any e-mail addresses provided for Defendants by third parties. The Clerk of the Court

    is directed to issue a single original summons in the name of “The Partnerships and

    Unincorporated Associations on Schedule “A” that shall apply to all Defendants. The

    combination of providing notice via e-mail, along with any notice that Defendants receive

    from any online marketplaces or payment processors shall constitute notice reasonably

    calculated under all circumstances to appraise Defendants of the pendency of this action

    and afford them the opportunity to present their objections.

 10. Plaintiff is authorized to serve expedited discovery under Fed. R. Civ. P. 33, 34, and 36,

    upon Defendants via e-mail, who shall serve their responses and objections to such

    discovery within five business days. This expedited discovery is limited to the following:

        a. the identities and locations of Defendants, their agents, servants, employees,

            confederates, attorneys, and any persons acting in concert or participation with

            them, including all known contact information, including any and all associated e-

            mail addresses; and

        b. the nature of Defendants’ operations and all associated sales, methods of payment

            for services and financial information, including, without limitation, identifying
                                          6
     Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 7 of 8 PageID #:651



                  information associated with Defendants’ Amazon.com Marketplaces and

                  Defendants’ financial accounts, as well as providing a full accounting of

                  Defendants’ sales and listing history related to their respective Amazon.com

                  marketplace accounts.

       11. The Clerk of the Court is directed to unseal the Exhibits to the Complaint (Dkt. No. 2),

          Plaintiff’s Motion for Entry of a Temporary Restraining Order (Dkt. No. 4), and the

          Temporary Restraining Order (Dkt. No. 13).

       12. Any Defendants that are subject to this Order may appear and move to dissolve or modify

          the Order on three days’ notice to Plaintiff or on shorter notice as set by this Court.


Dated: July 25, 2024


                                                             SO ORDERED:



                                                             _________________________________
                                                             Honorable Jorge L. Alonso
                                                             United States District Judge




                                                 7
      Case: 1:24-cv-05247 Document #: 36 Filed: 07/25/24 Page 8 of 8 PageID #:652



      Yuzhao Jin v. The Partnerships and Unincorporated Associations identified on Schedule “A”
                                             Case No.


                                       Schedule A
                                        Defendant Stores
                                    Amazon.com Defendants
No.        Store Name                                             Store ID
3          meidaolai                                              A1XJMOFGQXZNQJ
4          JOIE store                                             A1QH4K99W04MKK




                                                 8
